UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES,

V. Case No. 1:19-cr-10335-DJC

TANMAYA KABRA

DECLARATION OF ATIM KABRA
Atim Kabra hereby declares under the penalties of perjury as follows:

1. I am the father of Tanmaya Kabra (“Tan”). Tan is our eldest son. We have
another son, Avi, who is now 14 years old. Both my wife Himali and Tan became U.S. citizens
in 2009. Avi was born in the United States. I was a permanent U.S. resident until 2006 and
remain a citizen of India.

2. I have much the same business background and experience in startups and angel
investing as Tan. By way of background, I majored in economics (Honors) from Delhi
University and have a Master’s degree in Management Studies from NMIMS (Bombay
University). I have over 25 years of experience in equities related businesses including portfolio
management, equity sales and equity research with global institutions like ABN AMRO Bank in
New York, and ANZ Grindays Bank in India.

oF After working for the equity research section at HG Asia, India, I was relocated
by my company to New York in 1996 when Tan was less than three years old. | worked for
ABN Amro Inc., setting up the sub-continent equity sales desk for about four years. I set up my
own firm in 2000 and in 2006 we moved to Singapore where over the last 13 years | established

my present business interests. We do, however, own an apartment in Weehawken, New Jersey.

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4, I am the founding principal of Frontline Strategy Limited, the investment
manager/advisor for India Industrial Growth Fund and Strategic Ventures Fund (Mauritius)
Limited, two Mauritius based India centric private equity funds. I am also the founder and CEO
of Frontline Strategy Funds Pte. Ltd., a Singapore registered and licensed venture capital fund
manager, which acts as the investment manager/advisor to the Singapore based Venture Capital
Fund — Prestellar Ventures Fund I Pte Ltd.

= Tan started his first company while still in high school in Singapore with the help
of his computer science instructor for the re-sale of used electronics, before leaving to attend
Babson College in Wellesley, Massachusetts in 2012. He has resided exclusively in the United
States since then.

6. At Babson, Tan majored in business and entrepreneurship and graduated in 2016.
He worked in the Babson mailroom to earn money for personal expenses. The genesis of what
would later become LaunchByte, sprang up during Tan’s freshman year. In his free time, Tan
made digital presentations and websites for people, sometimes working for them for free and
sometimes being offered sweat equity and fees for his work.

7. My understanding is that Tan formalized LaunchByte in April 2015, while still
attending college. Essentially, per my understanding of Tan’s business, LaunchByte was a
version of a “startup incubator” specializing in early stage ventures, providing product design,
business development, marketing and other services in exchange for cash and equity.

8. Specifically, it is my understanding that LaunchByte provided IT platform
development, web design and digital advertising and guided startups through rounds of funding
typical for early stage companies. I also believe that in 2018 Tan envisioned and took steps to

create a micro investment fund of equities in startups and early stage companies, including hiring
Goodwin Procter, a Boston law firm, to prepare the necessary registration and fund
documentation. It is my understanding that Tan also used Partridge, Snow and Hahn of Boston
for legal work related to various aspects of Tan’s business, including the drafting of promissory
notes for the bridge financing LaunchByte needed prior to the creation of the investment fund.

9. I have reviewed the Complaint and supporting affidavit filed against Tan. As I
understand it, the government essentially alleges that Tan was running a Ponzi scheme through
LaunchByte, which included (i) the solicitation of so-called investors (actually lenders) who
provided short-term loans reflected in promissory notes; (ii) the repayment of prior “investors”
through funds obtained through subsequent “investors”; and (iii) the intermingling of Tan’s
personal and business expenses in various bank accounts.

10. Based on my training and experience and my knowledge of the angel investing
and startup business, I do not believe that Tan and LaunchByte can in any respect be
characterized as a Ponzi scheme. Ponzi schemes typically do not have a real operational
underlying business with real cash flow and consequently have no defined means of paying
creditors and investors other than through funds provided by subsequent creditors and investors.
LaunchByte was a real tangible business with employees, products and services, startup
companies as clients, and significant revenue. As I understand it, Tan’s plan was to house the
equity interests that LaunchByte held in various startups in an investment fund which would
acquire the portfolio of equity interests from LaunchByte for its investors. The proceeds of the
portfolio acquisition would be used, among other things, to satisfy LaunchByte’s debts and
obligations, including the repayment of lenders who provided the early bridge financing.

11. While I understand that the government has characterized the individuals who

provided short-term bridge loans to LaunchByte as “investors” - they are more accurately
described as lenders. Based upon the documents I have seen and based on my discussions with a
couple of my friends who had been approached by Tan for such loans, these lenders had
provided short-term loans at standard hard money interest rates reflected in promissory notes and
in some cases backed by guaranties.

12. My understanding is that there was no agreement that these lenders would obtain
(besides repayment in cash of principal and interest) any equity interests in any entity or the
venture fund Tan was hoping to create (which was only in the preparation stages). 1! also
understand that the bridge financing was intended to get Tan and LaunchByte to the point where
they could launch the startup venture fund.

13. The promissory notes evidencing the short-term loans, many of which seem not
yet due, variously reference “financing of the startup” and “kickoff of the project” (meaning the
launch of the startup venture fund, in my view) in some notes executed in 2018, including the
note to Viscomi. The later notes executed in 2019 contained this language:

Lender agrees and acknowledges that the purpose of this Note is to provide funds to

Borrower so that Borrower may, inter alia, consolidate creditors and support Borrower’s

fees associate with the associated venture fund’s setup and administration, fundraising,

and closings, including, without limitation, professional services fees.
A copy of the promissory note signed by Viscomi in 2018 and an unexecuted copy of one of the
notes signed by a lender in 2019 are attached as Exhibits A and B, respectively. I believe that
each of the “investors” referenced by the government knew they were short-term lenders and not
investors in any fund, LaunchByte or the startups. I understand that the person identified as
Investor A (Salvatore Viscomi) was in fact hired by Tan to help market LaunchByte and obtain
bridge financing in advance of the fund’s official registration and investment launch. I also

understand that it was Viscomi who introduced Tan to a lender identified by the government as

Investor B.
14. Indeed, the government has referenced a December 6, 2018 email from Tan to a
lender identified as “Investor C” which reads:

I wanted to take a few minutes to provide you with a quick background on the
deal:

There is a management company (LaunchByte) that will be taking on the
$IM debt. That management company owns 20 investments that have a
value of $2.5M at the time of acquiring them (now they have grown). Our
new fund, KV Ventures I LP will be purchasing these investments from
the management company at arms length, aka $2.5M.

The management company needs to take on the $1M ASAP to
complete the SECOND close of KV Ventures I, LP. The first close
has already been done at $7M and that cash will be coming into the
fund within the next few weeks (documents are being signed right
now by the investors and wires are coming in). The second close will
be the remaining $18M, and requires significant travel, legal
expenses, and a ramp up of the management company staff.
The $1M note will carry 20% interest on it, and the duration will be for
1 year. We anticipate the second close of KV Ventures I, LP to be at
the latest by May of 2019. Promptly upon the second close, we will
accelerate this debt note and still pay the 20% on top. So most likely,
this will only be a 7 month term, but we would like to keep a buffer of
an extra few months just in case.
It is my understanding, based in part on press releases attached as Exhibit C, that in
August and September 2018, Tan and LaunchByte hired Viscomi as “Chief Medtech
Investment Officer” and, at Viscomi’s insistence, Mahsa Noble as Global
Director of Growth. I further understand that each was hired because of their
investment connections, and that, thereafter, they contacted high-wealth
individuals (both U.S. and foreign) and identified investment sources sufficient to
take LaunchByte to the fund launch stage, which Tan appears to have estimated

in his email at $7 million. In that regard, in October 2018 and January 2019, Tan

and Noble made trips together to Dubai, UAE for the purpose of meeting Noble’s
connections. As I recollect, Tan introduced me to Noble in Dubai and she spoke to
me about her many connections with wealthy individuals in the Middle East,
some of whom would be interested in the new fund, and how she was extremely
impressed by Tan’s acumen and was helping him market the fund. A copy of
what I understand is a LaunchByte spreadsheet reflecting the investment funds identified
by Noble and Viscomi is attached as Exhibit D.

15. I also understand that Viscomi and Investor B sought repayment of their notes
shortly after making the loans in July 2018 notwithstanding that the term of their notes expressly
contemplated repayment of principal “four (4) months from the first day (kickoff) of the
project”, which in July was contemplated to be in or about October 2018. I understand that
Investor B approached Tan seeking early repayment on his note because he said that his wife
supposedly needed the money in connection with a new medical practice. Tan seemingly agreed
to make early repayment to Investor B to preserve the relationship between Viscomi and Investor
B. I also understand that soon thereafter, Viscomi breached the terms of his employment
agreements with LaunchByte, ceased providing services, and insisted on the early repayment of
his note as well. A copy of an email exchange between LaunchByte’s counsel and Viscomi’s
counsel challenging the claim for payment by Viscomi is attached as Exhibit E. The
unreasonable and disruptive demands of Viscomi and Investor B forced Tan to scramble to
address these demands (including the need for legal representation) and ultimately caused Tan to
reallocate funds received from future bridge loans to make these unanticipated early repayments.

16. In early 2019, I understand the $1 million debt that Tan was raising increased to
$1.5 million, apparently due in large part to the premature demands for repayment by Viscomi

and Investor B. I understand that at that time, Scott Taylor, an investor with one of
LaunchByte’s portfolio companies came forward and agreed to take on the entire $1.5 million
debt at 20% interest. That $1.5 million would have secured repayment of the prior notes,
estimated to be approximately $770,000. Unfortunately, in April 2019, Taylor backed out at the
last-minute citing personal reasons attributable to unanticipated litigation that he needed to
address. Tan subsequently solicited new loans, again evidenced by promissory notes and
guaranties. I agreed to provide a personal guaranty for these loans if and as and when required
by Tan. A copy of the slide deck put together by Tan in April 2019 to solicit the $1.5 million in
bridge financing still necessary after the Taylor commitment fell through is attached as Exhibit
F. In addition, attached as Exhibit G is what I understand is a LaunchByte spreadsheet that listed
the debts that LaunchByte intended to pay with the anticipated $1.5 million in bridge financing.

17. To suggest improper conduct, the government points to the intermingling of Tan’s
personal and business expenses in various bank accounts and further suggests that LaunchByte’s
business accounts were used to pay American Express credit cards. It is my understanding, per
my discussions with accountants, that it is common (and certainly not suggestive of criminal
activity) for owners of small businesses to intermingle personal and business expenses; leaving
accounting firms the task of separating such expenses for tax purposes at the year end with input
from the business owner. In addition, I understand that Tan used an American Express business
card to pay for LaunchByte expenses which were appropriately deducted from LaunchByte’s
bank accounts. Finally, I am aware that LaunchByte also had separate bank accounts with banks
other than Brookline Bank, including a Bank of America bank account which was used as
LaunchByte’s operating account for payroll and similar expenses.

18.  Lalso understand that during the detention hearing there were some discussion of

international wires drawn from LaunchByte’s Brookline Bank account and the suggestion was
made that Tan was sending funds overseas for his personal benefit. I am informed that the
documents submitted at the detention hearing specifically evidenced three international wires to
companies in India: two wires totaling $15,000 to Digital Brandster Private Ltd and one wire of
$19,985 to Code to Art Private Ltd. Digital Brandster Private Ltd. (www.digitalbrandster.com),
located in New Delhi, India, provides software development and digital marketing services and
works especially with startups to provide IT, quality software and digital services and support to
them at very reasonable prices, and that Digital Brandster provided these services to LaunchByte
for its startups, and was partially paid for its services through wire transfers. Until recently, I had
no personal knowledge of Code to Art Private Ltd, but, according to its website, the company
appears to provide IT and software development services. It is a common industry practice to get
software development done from offshore companies that can offer cost savings.

19. With respect to Tan’s purchase of a boat, it should be remembered that raising
investment funds requires access to decision makers who decide whether to back an
entrepreneur. Successful fundraising requires access to networks of decision makers in places
they visit socially and professionally. In short, a boat in Boston has legitimate business
justifications for an entrepreneur. It is my understanding that Tan purchased the boat for this
purpose and sold it three months later when he understood that the marketing threshold had been
met.

20. [know that Tan worked hard to develop and grow LaunchByte, and was actively
involved in the Boston community, including his efforts to help the Boston public schools
improve their business and technology curriculum by, among other things, I believe, donating

two $25,000 service grants and $13,000 in Apple computers. Attached as Exhibit H are a
number of press reports on Tan and LaunchByte that evidence Tan’s energy, innovation and
determination in building his business and in helping startups and entrepreneurs.

21. [understand that the government has alleged, based on a single vague comment in
an email to Viscomi, that Tan has offshore assets in Mauritius. To the best of my knowledge this
is not true. As noted above, however, I am the investment manager of two Mauritius based
private equity funds and have been regulated by the Financial Services Commission of Mauritius
for more than a decade.

22. [also understand that the government has alleged that Tan committed bank fraud
when he deposited, on March 11, 2019, a $125,000 personal check into LaunchByte’s Brookline
Bank account that lacked sufficient funds. I believe that Tan did not intend to defraud Brookline
Bank. It is my understanding, based in part on LaunchByte documents that I have reviewed, that
Tan fully expected that a deposit of $125,000 would be made on March 11, 2019 into the
account from which his personal check was drawn. I understand from these documents that in
January 2019 LaunchByte negotiated and executed a consulting agreement with Michael
Cormier on behalf of Chef Dazzer LLC for services whereby LaunchByte would receive
$125,000 in cash and $125,000 in equity. An unexecuted copy of the consulting agreement from
Chef Dazzer to LaunchByte is attached as Exhibit I. I understand that Cormier also introduced
Tan to Matt Waldner who was to lend Chef Dazzer the $125,000 necessary to make the $125,000
cash payment. I understand that in connection therewith, on or about March 6, 2019, Chef
Dazzer executed a promissory note to Waldner for $125,000. An unexecuted copy of the
promissory note from Chef Dazzer to Waldner is attached as Exhibit J. I also understand that
Cormier committed to Tan that the $125,000 from Waldner would be deposited on March 11,

2019. I further understand that it was with the expectation of that deposit that Tan deposited his
personal check for $125,000 into Brookline Bank on March 11, 2019 to meet payroll and other
expenses. I have been informed that the funds from Chef Dazzer were not sent leaving Tan’s
personal account overdrawn. In a demonstration of our family’s good faith, however, I recently
wired to Brookline Bank funds sufficient to cover the debt owed as a result of the overdraft.

23. Finally, while the charges against him are serious, I am confident that he will
undertake a full and vigorous defense and justice will prevail. I do not believe that he has
engaged in a Ponzi scheme or otherwise engaged in fraud to secure loans, which indeed are
evidenced by promissory notes, or could have had any intention to defraud Brookline Bank.

24. Finally, J am certain that Tan would not bring shame and disgrace on his family
by fleeing Massachusetts or the United States. I know that he is committed to defending himself
and restoring his hard-earned reputation. Moreover, Tan is 25 years old, a US citizen who has
lived almost all of his life in the US. He has a committed relationship with Alma Tambone who
would have been his fiancé but for the present arrest, and has friends and business associates in
the Boston area. He also will need to attend to his work and significant interests with startup
companies which requires his immediate attention to avoid further losses.

25. The statements contained in this affidavit are based upon my personal knowledge

or information made available to me which I believe to be true.

Signed this?? day of September 2019 under the penalties of perjury.

Atim Kabra

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CERTIFICATE OF SERVICE
I hereby certify that on September 12, 2019, I electronically filed the foregoing document
with the United States District Court, District of Massachusetts by via the CM/ECF system. I
further certify that on September 12, 2019, I served a copy of the foregoing document on all parties

or their counsel.

/s/ Mark A. Berthiaume
Mark A. Berthiaume

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